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10
                              UNITED STATES DISTRICT COURT
11
                           NORTHERN DISTRICT OF CALIFORNIA
12
                                   SAN FRANCISCO DIVISION
13
     IN RE: CATHODE RAY TUBE (CRT)                       Master File No. 3:07-cv-05944-SC
14   ANTITRUST LITIGATION,
                                                         MDL No. 1917
15
                                                         REDACTED DECLARATION OF
16   This Documents Relates To:                          EMILIO E. VARANINI IN SUPPORT
                                                         OF THE ADMINISTRATIVE
17   ALL ACTIONS                                         MOTION FOR ORDER ISSUING
                                                         LETTERS OF REQUEST FOR
18                                                       TAKING OF EVIDENCE FROM
                                                         WOONG TAE(W.T.) KIM AND
19                                                       MYUNG JOON (M.J.) KIM OF THE
                                                         REPUBLIC OF KOREA
20

21
            1.      I am a Deputy Attorney General with the California Attorney General’s
22
     Office and am lead counsel for the California Attorney General in the state court case of
23
     State of California et. al. v. Samsung SDI, Co., Ltd., Case No. 11-51584 (California
24
     Superior Court, San Francisco). This case has been coordinated with this Court’s MDL
25
     No. 1917 for purposes of fact and expert discovery as well as mediation and settlement. I
26
     am admitted to this Court and could, if called as a witness, testify competently to the
27
28   DECLARATION OF EMILIO E. VARANINI                            MASTER FILE NO. CV 07-5944 SC
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1    matters set forth herein. I make this declaration under penalty of perjury under the laws
2    of the United States and the State of California.
3             2.    Besides this case, I have led other international price-fixing and unfair
4    competition cases involving the State of California. I also have an extensive background
5    on international antitrust and related issues involving the European Union and China as
6    well as some knowledge of those same issues involving both the Republic of Korea and
7    Japan.
8             3.    The Attorney General has alleged the existence of an international price-
9    fixing conspiracy with multilateral and bilateral meetings taking place in Asia and

10   Europe..

11            4.    The Korean Fair Trade Commission found that this global CRT price-

12   fixing cartel violated its antitrust laws and fined some of the companies that are

13   Defendants in our case. A true and accurate copy of a certified translation of the

14   decision of the Korean Fair Trade Commission is attached hereto to this Declaration as
15   Exhibit 1.
16            5.    The allegations of the California Attorney General and other Plaintiffs, as
17   supported by the findings of the Korean Trade Commission and other antitrust
18   authorities, necessitate deposing current and former European and Asian employees of
19   the Defendants who may have knowledge of these meetings during the relevant time

20   period of 1995 to 2007.

21            6.    LG Electronics Inc. (“LG”) has, pursuant to its cooperation agreement

22   with the Attorney General, identified Woong Tae (W.T.) Kim and Myung Joon (M.J.)

23   Kim as individuals who it believes may have information on the competitor meetings in

24   Asia. LG has further informed us that Myung Joon (M.J.) Kim was a manager in LG’s

25   Color Display Tubes team among other assignments; Woong Tae (W.T.) Kim was a
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28   DECLARATION OF EMILIO E. VARANINI                            MASTER FILE NO. CV 07-5944 SC
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1    manager in LG’s Taiwan branch and a manager in the Display CDT Export Team among

2    other assignments.

3            7.     LG does not object to this motion or to the issuance of these two Letters of

4    Request to take evidence from Woong Tae (W.T.) Kim and Myung Joon (M.J.) Kim.

5            8.     LG has provided the Office of the Attorney General with the addresses for

6    Woong Tae (W.T.) Kim and Myung Joon (M.J.) Kim in the Republic of Korea and that

7    information is set out in the proposed Letters of Request. It is required under the laws of

8    the Republic of Korea that a letter of request issue out of, and under the seal of, this Court

9    for testimony to be taken from Woong Tae (W.T.) Kim and Myung Joon (M.J.) Kim.

10   But under the laws of the Republic of Korea, Woong Tae (W.T.) Kim and Myung Joon

11   (M.J.) Kim are not obligated to appear, and if they refuse to appear or give evidence,

12   they would not incur any penalty of any kind in the State where the proceedings are

13   instituted.

14           9.     LG’s counsel has informed the Office of the Attorney General that Woong
15   Tae (W.T.) Kim and Myung Joon (M.J.) Kim are no longer employed by LG such that we

16   must pursue their testimony by other means. Based on meetings with LG’s counsel, the

17   Office of the Attorney General has no reason to believe that Woong Tae (W.T.) Kim and

18   Myung Joon (M.J.) Kim would not cooperate with these Letters of Request if they are

19   served in accordance with the laws of the Republic of Korea subject to the caveat in the

20   paragraph below.

21           10.    We believe based on information received from LG and our knowledge of

22   procedures in the Republic of Korea that concerns may be raised about Woong Tae

23   (W.T.) Kim and Myung Joon (M.J.) Kim potentially incriminating themselves by

24   testifying at a Korean judicial proceeding. After reviewing information provided by LG,

25   and other documents, the Attorney General has offered use immunity to Woong Tae
26   (W.T.) Kim and Myung Joon (M.J.) Kim for any testimony they may give in the
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28   DECLARATION OF EMILIO E. VARANINI                             MASTER FILE NO. CV 07-5944 SC
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1    Republic of Korea in response to her questions, should the appropriate Korean judicial
2    authorities ask those questions, or questions asked by those appropriate Korean judicial
3    authorities themselves, as she is empowered to do under California’s antitrust laws, the
4    Cartwright Act. See Cal. Bus. & Prof. Code §16758. It is anticipated that this offer not
5    only will aid in obtaining the voluntary testimony of Woong Tae (W.T.) Kim and Myung
6    Joon (M.J.) Kim but also will aid in obtaining the consent of the Republic of Korea to
7    this deposition. Should the letters of request be served by the Korean Central Authority,
8    and the pertinent Korean judicial authorities consent to asking our questions, we will
9    make every reasonable effort to ask questions that the other Plaintiffs’ groups would wish

10   us to ask. We will also recommend to the relevant Korean authorities that either (a)

11   questions, if any, propounded by Defendants to these witnesses be asked and/or (b) that

12   Defendants be given an opportunity to cross-examine these witnesses, as those authorities

13   may determine is appropriate.

14          11.     The request made to this Court through the filing of a motion under Civil
15   Local Rule 7.11 is an urgent one: the letters of request, if executed by this Court, must be
16   promptly delivered to the relevant authorities in the Republic of Korea so that evidence
17   may be taken from Woong Tae (W.T.) Kim and Myung Joon (M.J.) Kim before the cut-
18   off of fact discovery on September 5, 2014.
19

20   Dated: May 12, 2014                                   Respectfully Submitted,

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                                                           KAMALA D. HARRIS
22                                                         Attorney General of California
23
                                                           s/Emilio E. Varanini
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                                                           EMILIO E. VARANINI
25                                                         Deputy Attorney General
                                                           Attorneys for Plaintiffs
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28   DECLARATION OF EMILIO E. VARANINI                            MASTER FILE NO. CV 07-5944 SC
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